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                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


RICHARD OBENAUF,

             Plaintiff,

v.                                                               No. 10-CV-1179 WJ-DJS

ENHANCED RECOVERY CORPORATION d/b/a
ENHANCED RECOVERY COMPANY LLC,

             Defendant.

          JUDGMENT ON WRIT OF GARNISHMENT AND ORDER TO PAY

      This matter coming before the Court on Plaintiff’s Application for Writ of Garnishment,

Docket No. 23, and the Garnishee’s Answer, Docket No. 25, THE COURT FINDS:

1.    At the time the Writ of Garnishment was served on Wells Fargo Bank, N.A., the

      Garnishee, it held the amount of $10,649.75 on behalf of the Defendant.

2.    The total amount of judgment is $10,649.75.

      THE COURT ORDERS:

1.    Wells Fargo Bank, N.A., the Garnishee, shall pay the sum of $10,649.75 to Plaintiff.



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                                          HONORABLE WILLIAM P. JOHNSON
                                          United States District Court Judge




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